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 3     Telephone: 530.759.0700
       Facsimile: 530.759.0800
 4
     Attorney for Defendant
 5   KEOUDONE PHAOUTHOUM
 6

 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                               SACRAMENTO DIVISION
10
     UNITED STATES OF AMERICA,                           ) Case No. CRS 08-390 GEB
11                                                       )
                                      Plaintiff,         )
12                                                       ) STIPULATION ANDORDER TO
              vs.                                        ) CONTINUE STATUS
13                                                       )
     KEOUDONE PHAOUTHOUM; et al.,                        )
14                                                       )
                                                         )
15
                                      Defendants.
16

17

18            It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
19   AMERICA, through its counsel of record, Michael Beckwith, Assistant United States
20   Attorney, and Defendants, Keoudone Phaouthoum, through his counsel of record,
21   Joseph J. Wiseman, John Li, through his counsel of record, Johnny L. Griffith, Son
22   Nguyen, through his counsel of record, Michael B. Bigelow and Tuy Nguyen, through his
23   counsel of record David Dratman, that the status conference in the above-captioned
24   matter set for Friday, February 12, 2010, be continued to Friday, April 23, 2010, at 9:00
25   a.m.
26            The parties further stipulate and agree that an additional continuance is
27   appropriate in this case and request that the time beginning February 12, 2010, and
28   extending through April 23, 2010, be ordered excluded from the calculation of time

                                                         1
     Stipulation And Proposed Order To Continue Status                        Case No. CRS 08-390 GEB
     Conference
       Case 2:08-cr-00390-GEB Document 112 Filed 02/12/10 Page 2 of 3


 1   under the Speedy Trial Act. The ends of justice will be served by the Court excluding
 2   such time, so that counsel for the Defendants may have reasonable time necessary for
 3   effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
 4   3161(h)(7).
 5            Specifically, defendant’s counsel needs additional time to review discovery and
 6   potential plea agreements with their respective clients.
 7            The parties submit that the interests of justice served by granting this
 8   continuance outweigh the best interests of the public and the defendant in a speedy
 9   trial. 18 U.S.C. § 3161(h)(7).
10

11   Dated: February 10, 2010                             Respectfully submitted,
12                                                        JOSEPH J. WISEMAN, P.C.
13                                                        By:    /s/ Joseph J. Wiseman
14                                                               JOSEPH J. WISEMAN, Esq.
                                                                 Attorney for Defendant
15                                                               Keoudone Phaouthoum
16

17
     Dated: February 10, 2010                            By:__/s/JOHNNY L. GRIFFITH III
18                                                              Johnny L. Griffith III, Esq.
19
                                                                Attorney for Defendant
                                                                John Li
20

21   Dated: February 10, 2010                                    By: /s/ MICHAEL B. BIGELOW
22
                                                                 Michael B. Bigelow, Esq.
                                                                 Attorney for Defendant
23                                                               Son Nguyen
24

25
     Dated: February 10, 2010                              By:__/s/DAVID W. DRATMAN
                                                                David W. Dratman, Esq.
26                                                              Attorney for Defendant
                                                                Tuy Nguyen
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     Stipulation And Proposed Order To Continue Status                                Case No. CRS 08-390 GEB
     Conference
       Case 2:08-cr-00390-GEB Document 112 Filed 02/12/10 Page 3 of 3


 1   Dated: February 10, 2010                               LAWRENCE G. BROWN
                                                            United States Attorney
 2

 3                                                         By:   /s/ Michael Beckwith
                                                                 MICHAEL BECKWITH, AUSA
 4                                                               Attorney for Plaintiff
                                                                 UNITED STATES OF AMERICA
 5

 6

 7

 8
                                                          ORDER
 9
     GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the status
10
     conference in the above-captioned case shall be continued to April 23, 2010 at 9:00 a.m.
11
     2/11/10
12

13
                                                         GARLAND E. BURRELL, JR.
                                                         United States District Judge
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     Stipulation And Proposed Order To Continue Status                               Case No. CRS 08-390 GEB
     Conference
